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members of the public. See Munafo, at 331-332; see also People v. Castro, 29 Misc. 3d
1217(A) (Sup. Ct. Bronx Co. 2010)(no probable cause supporting disorderly conduct
arrest; defendant's conduct - yelling and cursing at officers writing traffic ticket and
puffing out his chest - was directed at police and defendant made no attempt to involve
spectators); cf’ People v. Gonzalez, 112 A.D.3d 440 (1st Dept. 2013)(finding probable
cause for disorderly conduct arrest where defendant loudly and angrily cursed police
officers, violently waved his arms, screamed complaints about the police to people in the
vicinity, and forced subway riders out of his way, conduct which "escalated defendant's
initially individual interaction with the police officer so as to create a ‘potential or
immediate public problem')(quoting People v. Weaver, 16 N.Y.3d at 128)); Im re
Jonathan Mcl.., 303 A.D.2d 169 (1st Dept. 2003)(probable cause for disorderly conduct

arrest where defendant flailed his arms and yelled obscenities in presence of gathering

crowd and police, who had been summoned by livery cab driver to help resolve dispute

with appellant).'°

Conduct of bystanders
Nor did the other evidence support the finding that appellant's private grievance
with the police was at risk of becoming public issue. See Munafo, 50 N.Y.2d at 331. In

assessing whether a defendant's conduct constitutes “a potential or immediate public

 

'° The Baker Court noted that the presence of another officer in the area effectively "diluted the
risk that others in the vicinity would join forces with [the] defendant and gang up on [the first
officer]." Baker, at 363. Unlike in Baker, here there were three other officers at the scene, not
just one.

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problem,” relevant factors include: "the number of other people in the vicinity; whether
they are drawn to the disturbance and, if so, the nature and number of those attracted; and
any other relevant circumstances.” People v. Pritchard, 27 N.Y .2d at 248-249.

While there were a few pedestrians and bystanders in the vicinity, and one officer
testified that a crowd of five gathered across the street, as in Baker, there is "no
evidence that the bystanders expressed any inclination, verbally or otherwise, to involve
themselves in the dispute between defendant and [the officer]." People v. Baker, 20
N.Y.3d at 363; see People v. Munafo, 50 N.Y.2d at 331-332 (no public harm to support
disorderly conduct conviction where, inter alia, confrontation "confined to [the] two
disputants"). Thus, as in Baker, there is "no basis to infer that these spectators were
motivated by anything other than curiosity or a desire for entertainment." Baker, at 361

(citing Pritchard, at 248-249),

No evidence that the public was annoyed, alarmed, or inconvenienced

Moreover, although the police were obviously upset over appellant's remark, there
is no evidence that members of the public were actually annoyed, alarmed or
inconvenienced by appellant's actions, as required under P.L. §240.20. See People v.
Jones, 9 N.Y.3d 259, 262 (2007)(dismissing information charging P.L.
§240.20(5)(obstructing vehicular or pedestrian traffic) for failure to allege sufficient facts

"supporting or tending to support” mens rea element; Although as a result of defendant's

 

I6 According to the police, the number of bystanders and onlookers who gathered to watch the

encounter ranged from five to twenty.

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conduct, numerous pedestrians had to walk around defendant, “[s]omething more than a
mere inconvenience of pedestrians is required to support the charge”); People v. Munafo,
50 N.Y.2d at 332 (no evidence defendant's conduct caused "any obstruction of passage,
vehicular or pedestrian, of the public at large”); People v. Richardson, 30 Misc. 3d
1204(A) (Crim. Ct. N.Y. Co. 2010\(P.L. §240.20(3))(information alleging defendant
yelled obscenities at a New York City location, causing a crowd to gather, insufficient to
support disorderly conduct, absent allegation that anyone was annoyed or inconvenienced
by defendant's actions); see also U.S. v. Olavarria, 2011 WL 1529190 (S.D.N.Y.)(where
entire incident lasted no more than five minutes, obstruction of pedestrian traffic
unlikely); People v. Snyder, 36 Misc. 3d 137(A) (9th &10th Jud. Dists. 2012)(evidence
legally insufficient to establish P.L. §240.20(2); intent to create public disturbance not
supported by facts where, inter alia, defendant shouted in protest of what he reasonably
believed to be his wrongful treatment by police cutside his home and prosecution did not
present evidence regarding effect on public); cf: People v. Malone, 28 Misc. 3d 1227(A)
(Crim. Ct. New York Co. 2010)(disorderly conduct charge sufficiently pled where

defendant's conduct caused people to leave and avoid Times Square area).'!

This case is readily distinguishable from People v. Weaver and People v. Tichenor
At trial, the prosecutor, relying on People v. Weaver, argued that appellant's mens

rea to commit disorderly conduct was inferable from the circumstances. Given the

 

'’ The requisite intent to breach peace cannot be found solely upon the prohibited act itself. See
People v. Pearl, 321 N.Y.S.2d 986, 987 (1st Dept. App. Term 1971 )(obstructing sidewalk).

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striking factual dissimilarities between this case and Weaver, however, the prosecutor's
reliance on Weaver was wholly misplaced."

In Baker, the Court cited Weaver as an example of a case in which the requisite
mens rea was “readily inferred" from the circumstances, which included:

1. Context: The incident in Weaver occurred A) at a public location — a parking lot by an
open gas station; B) in a sleepy little upstate town; C) in the middle of the night.

2. Defendant's conduct: A) Weaver was waving his arms and yelling obscenities at his
bride (who was sitting on the curb crying) in a "loud, aggressive, and threatening tone"
and, B) when the police tried to intervene on his wife's behalf, the defendant threatened
the officer not to put her hands on him; and C) only after failing to comply with repeated
warnings to stop his disruptive behavior, was defendant was arrested for disorderly
conduct.

Given Weaver's aggressive response to the officer's effort to intervene on his
bride's behalf, the Baker Court noted, the "protracted, increasingly aggressive nature of
defendant’s vocalizations,” the officer's repeated warnings to calm down and go
elsewhere, which Weaver ignored, and the place and time of the encounter, readily
supported the inference that Weaver's intent was to create a risk of public harm.

Notably, unlike Weaver, the encounter here occurred shortly before 10 p.m. on a
Saturday night in midtown Manhattan, an area where the public is bombarded with loud

noises around the clock — including clanging banging sanitation trucks, horns, shrill

 

8 The court, in denying the motion to dismiss and convicting appellant on both counts,
presumably credited the prosecutor's argument.

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police and ambulance sirens, street traffic — chronic noises that are louder and far more

noxious and offensive than one brief vocal outburst.

Moreover, unlike in Weaver, appellant's conduct was not “increasingly

aggressive," and the dispute was a private matter between appellant and officer Winters
and did not involve an innocent third party. Notably, unlike in Weaver, where the
defendant was arrested only after he ignored repeated police warnings and whose
disruptive conduct showed no sign of abating, here the police did not issue a single
warning, let alone multiple warnings prior to the arrest.'? Moreover, unlike the defendant
in Weaver, appellant was arrested after she started to walk away, when the encounter was
winding down. See People v. Richardson, 30 Misc. 3d 1204(a) (in determining whether
defendant had culpable mental state to create public disturbance court should consider,
inter alia, whether defendant persisted in the conduct after the police issued warnings).

Finally, unlike the protracted encounter in Weaver, here the conduct consisted of a
single derogatory statement. Even if the conduct preceding the remark could somehow be
characterized as disruptive — which it was not ~ the entire encounter was over in five
minutes or less.

The facts in this case also bear little resemblance to those in People vy. Tichenor,
89 N.Y.2d 76, where the defendant's intent was also readily inferable from the

circumstances. Baker, 20 N.Y.3d at 361.

 

'? When Winters asked appellant to lower her voice, appellant complied. Her tone again became
elevated in reaction to Winters' comment that appellant should contact the BBB about the
assault.

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In Tichenor, the defendant, who was standing by the entranceway of a bar in
Saratoga Springs late at night, spit and yelled obscenities at an officer as the officer
walked by and then shoved the officer, who was alone on foot patrol. When the officer
tried to arrest the defendant for disorderly conduct, a crowd of patrons gathered and
yelled for the officer to leave the defendant alone. The defendant retreated inside the bar
and, when the officer followed him inside, a scuffle erupted between the defendant, the
officer, and a number of bar patrons. /d.

The defendant instigated the confrontation, the Baker Court noted, and the
circumstances of the encounter -- a single officer, a crowd of reactive bar patrons who
voiced their support for the defendant, and the defendant's retreat inside the bar -- created
"a risk of public harm." That the harm actually materialized was "a predictable result
given the context of [defendant's] obstreperous statements and conduct." Baker, at 361.

The only commonality between the instant case and Tichenor is that both cases
occurred at night in or near a bar. Indeed, unlike the officer in 7ichenor, who was alone
on foot patrol, here there were three officers standing within arm's reach of Winters. And,
unlike the officer in Tichenor, who felt threatened and called for back-up assistance, here
there was no evidence that the police considered appellant's conduct a threat to the police
or to the public. Finally, unlike the defendant in Tichenor, appellant approached the

police for a lawful purpose, not to instigate a confrontation.

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Appellant's statement did not constitute "unreasonable noise"

Appellant also lacked the requisite actus rea to commit P.L. §240.20(2). In People
v. Bakolas, 59 N.Y .2d 51, the defendant, who was stopped for a traffic violation, became
abusive and threatening to the police. Refusing to return to his vehicle when ordered to
do so, the defendant stood in the roadway thus forcing vehicles to swerve to avoid
striking him. /d. at 52-53. Defining “unreasonable noise" as a noise of a "type or volume
that a reasonable person, under the circumstances, would not tolerate," the Bakolas Court
concluded that "the objective standard of public disturbance, the requirement of
unreasonableness, and the narrowing effect of the fact that all of the other acts proscribed
by the section are publicly offensive, permit, if they do not require, [a constitutionally
permissive] construction." People v. Bakolas, 59 N.Y.2d at 53-54; People v. Carver, 97]
N.Y.S.2d 669 (Sup. Ct. 2013)(discussing P.L. §240.20(2)); relevant inquiry includes
nature of noise and attendant circumstances, such as character of surrounding area and
number of people attracted).

Although appellant's remark was loud, given the makeup of the area and the lack
of sound measurement evidence in the case, the evidence did not establish that the tone of
appellant's voice was objectively unreasonable, particularly since there was no testimony
that any of the bystanders complained to the police or acted in a way that suggested they

found the noise intolerable.

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Conclusion

In sum, appellant's appellant's brief emotional outcry over Winter's handling of her
assault complaint and the officer's insensitive comment does not constitute disorderly
conduct. Appellant may have uttered the statement on a public street, but the remark was
directed exclusively at the police, specifically officer Winters, the episode occurred on a
commercial block in noisy midtown Manhattan, appellant never attempted to draw a
crowd or to incite anyone else to become involved with her private grievance against the
police, and there was no evidence suggesting there was a risk that the situation could
escalate. In fact, appellant made the statement after she physically withdrew from the
situation and was walking away, thus signaling that her intent, notwithstanding her brief
outcry, was to put the entire upsetting exchange with Winters behind her. In short, this
was not a situation "that carried beyond the individual disputants to a point where [it] had
become a potential or immediate public problem." Munafo, 50 N.Y.2d at 331.

Thus, for the reasons stated above, even viewing the evidence in the light most
favorable to the prosecution, there was a failure of proof as to an essential element of the
crime. The circumstances simply do not support the inference that appellant intended to
create a public disturbance or recklessly disregarded the risk thereof. At the very least,
the verdict was against the weight of the evidence. Therefore, the conviction should be

reversed and the accusatory instrument dismissed.

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CONCLUSION

FOR THE REASONS STATED ABOVE, THE
CONVICTION SHOULD BE REVERSED AND THE
ACCUSATORY INSTRUMENT DISMISSED.

Respectfully submitted,

SEYMOUR JAMES, Jr.
Attorney for Defendant-
Appellant

JANE LEVITT
Of Counsel
June 2015

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Exhibit X

 
 

 

 
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Exhibit Y

 
AY : punishable

VICTIM / COMPLAINANT COPY NYS DOMESTIC ViK: NE ORGS AEH

 

 
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Exhibit Z

 
 

 

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lhappen, so if the ADA is planning on dropping the charges, he/she
can do so at that court date.

~ 9/7/2011 |SD met with CL at CVTC. {eviC.
9/7/2011|SD did a lot of CC with CL during ¢ our r meeting. Crisis

' ee ____ {Counseling |
9/7/2011}SD s/w CL about the likelihood that the charges against her willbe —|Info-Legal

a aropped. ee
9/7/20111SD s/w CL about the history of DV b/w them and described the - \Info-Other

common tactics used by abusers to get what they want. .

9/7/2011/SD advised CL that the court calendar governs when certain things |Info-Legal

 

9/7/2011

SD suggested that CL look into the CCRB as a possible mechanism
for holding the 28th precinct cops accountable for what they've done
ito her.

Info-Legal

 

9/7/2011

SD advised CL that the only real oversight with NYPD comes from
IAB (which she's already involved with) and the CCRB.

Info-Legal

 

9/7/2011

SD advised CL that in cross- camplaint cases, credibility is key and
ithe pending criminal case against her puts her at a disadvantage as
far as that's concerned.

Info-Legal

 

9/7/2011

SD informed CL that the first focus should be getting the charges 7
dropped and once that's resolved, then see if it's possible to re- open
ithe assault case against RESP.

Info-Legal _

 

9/7/2011

SD gave CL my card with the LAP HL # on it in case she needs to
Icontact me.

ilnfo-Legal

 

9/14/2011:

SD s/w CL who ‘called i in for n me e at CVTC.

Follow Up

 

9/14/2011

iSD, with Lisa H. @ CVTC, attempted to contact Lisa Callahan @ the
\Mn DA's office. No answer. Left vm with my direct line and extension |
ito call me back.

‘CJA-DA

 

~ 9/14/2011)

ISD advised CL that b/c of the bureaucratic nature of the system,
|correcting mistakes like this take an extensive amount of time.

] fnfocLogal

 

~ 9/14/2011.

CL expressed fear at being incarcerated "for the rest of her life," and
ISD reminded her that these are all MISD charges and carry a
{maximum of 1 year.

lInfo-Legal

 

9/14/2011)

‘SD advised CL that we tried to call Lisa Callahan at the DA's office,

back at the office on my extension. .

iInfo-Legal
ibut there was no answer so we left a message asking her to call me —

 

9/14/2011

SD advised CL that we have a working relationship with the DA's
[office and will try to utilize that to help her.

lInfo-Legal

 

~ 10/14/2011

SD called Lisa @ CVTC to s/w her on CL's behalf about Belinda
escorting CL to her appt with a City Council member to discuss her
treatment by NYPD and the DA's office. No answer. Left vm.

iPA-Legal

 

10/28/2011

|SD siw CL who called for me on the HL.

[Follow Up __

 

 

10/28/2011

..fand the DA's office.

SD offered CL emotional support given her treatment by the police. :

 

Crisis

 

Counseling _

 

 
 

 

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"10/28/2011

~linfo-Legal

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

SD advised cL that [ can call the precinct to speak with the DVPO
who took her rep't on RESP's latest attack (a PO Simmons) and find |
__fout what happened w/ the DIR. ae
10/28/2011 SD advised CL that both Lisa @ CVTC and | have been trying to get. linfo-Legal
through to the DA's office about getting the charges dropped but
we're not getting anywhere on that front.
10/28/2011|SD advised CL to send me her copy of the DIR and then | can call Info-Legal
the 28th precinct to speak with DVPO Simmons about how it was
"lost" according to Lt. LaRocca. Gave CL our fax #.
11/1/2011|SD called the 28th precinct to speak w/ DVPO Simmons about this /CJA-Police
DIR. She was very resistant and wasn't able to provide any info
except that the report got "lost in the system”. Her stance was that
CL must return to the precinct to file another one.
11/8/20111SD sAw CL about Belinda accompanying her to the precinct to make ‘Info-Legal
a report as well as to her meeting with Christine Quinn's office to
jreport her treatment by the police. a
11/8/20111SD offered CL emotional support and validated her feelings about {Crisis
__ {the 28th precinct's handling of her case. Counseling
11/8/20111SD gave CL a run-down of the very unproductive phone call | had. Info-Legal
with the DVPO last week, and advised her that the issue is definitely |
not her fault.
11/8/2011 CL called on the HL and SD s/w her about what happened when! —|Follow Up
called the 28th precinct last week. fo -
11/8/2011 SD emailed KT & Anindita about having Belinda accompany CL to iPA-Legal
—___ {the 28th precinct to re-file the DIR that they "lost" in their system. —_ |
11/9/2011 |SD s/w CL briefly at CVTC about Belinda accompanying her to the = |Follow Up
«28th precinct. CL was just getting out of group at CVTC.
41/9/2011 SD s/w CL briefly at CVTC about Belinda accompanying her tothe  |Info-Legal
28th precinct. CL was just getting out of group at CVTC. ee
11/9/2011|/SD provided CL wi emotional support about her treatment by the [Crisis
28th and confirmed that | was also stonewalled by the DVPO there. [Counseling |
11/9/2011|SD advised CL that | would meet with Belinda on Friday to go over Info-Legal
CL's case with her, so she should be able to accompany her next
week. ee cpap |
11/15/2011/SD called CL to set up a time for Belinda to accompany her tothe (Follow Up
precinct in order to make a report. No answer. Her voice mail box
was full so | couldn't leave a message. |
11/15/2011'SD called Lisa @ CVTC to s/w her about CL. No answer. Left vm PA-Legal
| asking foracallback i
11/15/2011/SD sw Lisa @ CVTC who ‘returned my phone call. Discussed the PA-Legal
jaccompaniment to the 28th precinct as well as CL possibly testifying |
at City Council.
11/16/2011|SD met with cL at CVTC and briefly discussed Belinda escorting her linfo-Other

 

 

 

 

 

 
 

 

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Ito the 28th precinct to file her DIR as well as possibly testifying ‘at
City Council early next yr.

 

11/16/2011

SD met with CL at CVTC and b briefly discussed Belinda escorting her
{to the 28th precinct to file her DIR as well as possibly testifying at
{City Council early next yr.

Follow Up

 

“41/16/2011

SD met with CL at CVTC and briefly discussed Belinda escorting her
ito the 28th precinct to file her DIR as well as possibly testifying at
City Council early next yr.

Info-Legal

 

11/22/2011

SD called CVTC to s/w Lisa to let her know that Kelly and Belinda
will be meeting at CVTC on Thursday (12/1) to head up to the 28th
jrecince  —i—sS

PA-Legal

 

11/22/2011

IBD s/w CL and arranged a date/time to meet @ CVTC and then to
go up to the 28th precinct.

Info-Legal

 

11/22/2011

SD s/w CL who called in on the HL. Let her know that | hadn't been
able to get a hold of her and had her s/w Belinda to schedule a time
ito go to the precinct.

Follow Up

 

11/22/2011

SD s/w CL who called in on the HL. Let her know that | hadn't been
able to get a hold of her and had her s/w Belinda to schedule a time
ito go to the precinct.

Info-Legal

 

11/30/2011

SD advised CL that now ‘that her OP was downgraded, it's critical
ithat she obtain the DIR to prove the OP violation to the IDV judge.

Info-Legal

 

11/30/2011

SD called CL to s/w her about meeting tomorrow w/ BD to head to

jthe 28th precinct.

Follow Up

 

~ 11/30/2011

SD provided CL emotional support b/c of what occurred in IDV w/
her OP (hers was downgraded to a limited OP and he still has a stay
away against her).

‘Crisis
Counseling

 

44/30/2011

SD s/w CL about what happened in IDV court yesterday wi her OP.

_info-Legal

 

14/30/2011

SD s/w CL about the possibility of a City Council hearing and let her
know that it's still in the initial stages. | haven't heard anything more
about it.

Info-Other

 

—-11/30/2011

‘[precinct.

SD confirmed the time/date for CL to meet with BD and head to the :

Info-Legal

 

~ 42/1/2011

SD called Lisa @ CVTC to give her an update on what took place
|today at the 28. No answer. Left vm. Also informed her about my
conversation w/ KT and the potential to speak directly to Audrey but
we need to be confident that there's nothing that can be used
against CL.

PA- Legal

 

“12/1/2011

BD met with CL at CVTC to accompany her to the 28th precinct. BD
inform her of what took place. CL was very happy with the effect of

her in other respects.

assisted CL with filing a DIR for the OP violation and emailed SD to —

the accompaniment and articulated her desire for BD to accompany

ICJA-DA

 

 

 

 

~12/1/2011k

 

Sp) siw Lisa who called me back. Discussed CL's c case 2 and oo .

 

PAL

 

 
 

 

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possi lity y ofa meeting to try and hash o1 out the f probability of g going to

DA's office with a solid case for dropping the charges. Will speak to
KT about this.

Counseling

 

42/1/2011

SD s/w Lisa who called me back. Discussed CL's case and

DA's office with a solid case for dropping the charges. Will speak to
KT about this.

IPA-Legal
ipessibility of a meeting to try and hash out the probability of going to |

 

12/1/2011

BD met with CL at CVTC to accompany her to the 28th precinct. BD
assisted CL with filing a DIR for the OP violation and emailed SD to
inform her of what took place. CL was very happy with the effect of

the accompaniment and articulated her desire for BD to accompany
her in other respects.

CJA-Police

 

12/1/2011

BD met with CL at CVTC to accompany her to the 28th precinct. BD
assisted CL with filing a DIR for the OP violation and emailed SD to
inform her of what took place. CL was very happy with the effect of

the accompaniment and articulated her desire for BD to accompany
her in other respects.

Info-Legal

 

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assisted CL with filing a DIR for the OP violation and emailed SD to
inform her of what took place. CL was very happy with the effect of

the accompaniment and articulated her desire for BD to accompany
her in other respects.

‘Follow Up

 

~ 42/1/2011

BD met with CL at CVTC to accompany her to the 28th precinct. BD
assisted CL with filing a DIR for the OP violation and emailed SD to
inform her of what took place. CL was very happy with the effect of

ithe accompaniment and articulated her desire for BD to accompany
ner in other respects.

[Crisis
Counseling

 

~ 12/2/2011)

‘SD emailed Lisa to arrange a time for us to meet w/ KT to discuss

: PA-Legal
iCL's case and develop a strategy for advocating with the DA's office.

 

"42/5/2011.

‘SD s/w CL who called in very upset b/c she ran into RESP at the

jbodega and had to turn around and walk out while they (him and his |
‘friend) laughed at her. _

Follow Up

 

12/5/2011:

iSD s/w CL to try and de-escalate her a bit, and then reminded her

‘that the best thing she can do for now is protect herself from the OP
leven though it's infuriating.

ICrisis
|Counseling

 

12/5/2011:

SD s/w CL to try and de- escalate her a bit, and then reminded her
that the best thing she can do for now is protect herself from the OP

leven though it's infuriating.

Safety
Planning

 

42/5/2011

SD advised CL that KT and ‘I need to review her papers from court

lso that we can see what exactly happened there before we can do

any kind of advocacy on her behalf. CL will fax them today.

Info-Legal

 

 

~ 42/6/2011

SD called CL unblocked to f/u on her vm from yesterday about her
fax. It was not in the fax machine. No answer. Left vm.

Follow Up

 

 

 

 

SD ‘si CL who called in returning my vm. Confirmed for her that I

 

info-Legal

 

 

 

 
 

 

 

 

 

idid not receive the fax (checked again), § sO o she i is 5 going to ‘drop it by
ithe office today. | gave her the address.

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

12/6/2011|SD called CL unblocked to f/u on her vm from yesterday about her _Info-Legal _
_ fax. It was not in the fax machine. No answer. Left ym. |
12/6/2011iSD s/w CL who called in returning my vm. Confirmed for her that! {Follow Up
did not receive the fax (checked again), so she is going to drop it by
the office today. 1 gave her the address.
12/7/20114SD and Lisa s/w CL about how her actions, w/o the context of the Info-Legal
history of DV against her, could have been seen as a batterer's
ee ea fat Bl he ig ig actions.
12/7/2011/SD met with CL at CVTC. CVTC
12/7/20111SD and Lisa s/w CL about the common tactics batterers use to iInfo-Legal
intimidate their victims, and how some of her actions and statements
could be misrepresented to look like those tactics. 4.
12/7/20111ISD sAw CL about the 28th precinct and their handling of the case. Info-Legal
12/7/20111SD provided CL wi emotional support given the handling of her case [Crisis
enn GN Counseling _
12/7/2011|SD s/w Lisa about CL's case and tried to set up a time for her to PA-Legal
jmeet with KT and | to go over the court doc's in CL's possession and
work out a coherent story to possibly present to the DA's office on
i CL's behalf. co _
~ 12/7/2011 {SD s/w CL about the DA's office's handling of her case. \Info-Legal
12/8/2011\SD sAw Lisa and KT about setting up a meeting sometime next | |PA-Legal
12/13/20171/SD tried calling Lisa @ CVTC again to set up a time to meet w/ KT |PA-Legal
re, CL's legal case. Trying for tomorrow afternoon near the end of
ce ithe day. ee ee
12/13/20111SD siw Lisa who called 1 me > back, and we e set up the time of 3pm PA-Legal
tomorrow to meet w/ KT toreview CL'slegalcase. ae
12/20/2011/SD called Lisa returning her message about setting Lup 3 a 1 time to PA-Other
{meet w/ KT re. CL's legal case. No answer. Left vm. oe a
12/20/2011/SD called Lisa returning her message about setting up a time to IPA-Legal
—___ [meet w/ KT re. CL's legal case. No answer. Left vm. es ee
42/20/2011 SD s/w Lisa @ CVTC and (tentatively) set up a meeting for next IPA-Legal
_ week onWed@ilam. is fo
12/28/2011|1SD met w/ Lisa & KT re. CL's case; Family Court OP, Crim Court iPA-Legal
ee Icharges, and proving she's a survivor of DV. . 7
12/28/2011|KT met w/ Lisa & SD re. CL's case: Family Court OP, Crim Court IPA-
7 __ charges, and proving she's a surivor of DV. {Counseling _
12/28/2011 IKT met w/ Lisa & SD re. CL's case: Family Court OP, Crim Court _ |PA-Legal
(charges, and proving she's a surivor of DV. df
12/28/2011 SD met wi Lisa & KT re. CL's case; Family Court OP, Crim Court PA-Family |

 

 

 

 

 

 
 

 

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oe - charges, and proving ‘she's a survivor of DV. 7 [Court
12/28/2011 SD met w/ Lisa & KT re. CL's case; Family Court OP, Crim Court |PA-
charges, and proving she's a survivor of DV. __ |Counseling
12/28/2011|KT met w/ Lisa & SD re. CL's case: Family Court OP, ‘Crim Court | PA-Family
charges, and proving she's a surivor of DV. Court
1/5/20121KT met with Lisa, SD, and CL to discuss the FC case, the CC PA-Family
charges against her, short and long-term priorities and goals, and Court
forming an effective strategy to address them.
1/5/2012IKT met with Lisa, SD, and CL to discuss the FC case, the CC PA-Legal
charges against her, short and long-term priorities and goals, and
forming an effective strategy to address them. _
1/5/2012\SD met w/ Lisa, KT, and CL to discuss the FC case, the CC charges |Safety
against her, short and long-term priorities and goals, and forming an |Planning
effective strategy to address them.
1/5/2012/KT met with Lisa, SD, and CL to discuss the FC case, the CC Safety
charges against her, short and long-term priorities and goals, and Planning
forming an effective strategy to address them.
1/5/2012iKT met with Lisa, SD, and CL to discuss the FC case, . the CC Crisis
charges against her, short and long-term priorities and goals, and = [Counseling
forming an effective strategy to address them. }
1/5/20121SD met w/ Lisa, KT, and CL to discuss the FC case, the CC charges Crisis
against her, short and long-term priorities and goals, and forming an [Counseling
effective strategy to address them. —
1/5/2012)SD met w/ Lisa, KT, and CL to discuss the FC c case, », the CC charges /PA-Legal
against her, short and long-term priorities and goals, and forming an
. leffective strategy to address them.
1/5/2012/SD met w/ Lisa, KT, and CL to discuss the FC case, the CC charges PA-Family
fagainst her, short and long-term priorities and goals, and forming an (Court
effective strategy to address them.
1/5/2012)SD met w/ Lisa, KT, and CL to discuss the FC case, the CC charges iPA-
jagainst her, short and long-term priorities and goals, and forming an jCounseling
__jeffective strategy to address them. ee
1/5/2012. KT met with Lisa, SD, and CL to discuss the FC c case, . the CC iPA-
icharges against her, short and long-term priorities and goals, and {Counseling
_______ forming an effective strategy to address them. _
1/11/2012)SD explained what our strategy will be in advocating with the DA's iInfo-Legal
loffice and reminded her that while we believe her story, we have to
know exactly what took place (whether it was incriminating or not) so:
that we can lay out the entire context of DV and its impact on her :
fe ACHOMS i
1/1 1/2012| SD s/w CL about the different sub- sections of the aggravated — iInfo-Legal
____ harassment charge that she's facing and what they mean. _ 3
1/11/2012 SD met wi CL at CVTC to discuss the charges in- depth and to get a 'Follow Up

 

 

 

 

 

 
 

 

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full ‘account of her v version of events.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

_ [talk to her about leaving a vm on our phone rather than calling over

“1/11/2012|SD did some emotional, physical, and legal SP w/ CL because he is [Safety
— {still calling her and she is talking to him b/c she misses him. __ {Planning
1/1 2012 SD provided CL w/ emotional support throughout this process. iCrisis
co a co COUNSElINg
1/1 OSD s/w CL in-depth about her version of events (# of phone calls iPA-Legal
and texts, what was said, the nature of the interactions w/ him, and |
iher intent during these interactions). Recorded CL's version of
events in a timeline format.
4/12/20121KT s/w Audrey Moore, CHief of DV Bureau @ NYCo DA's office, to ICJUA-DA
inquire about case and raise issues of victim treated as perp. AM
requested email with identifying email; | will follow up with her.
1/13/2012/SD s/Aw CL who called in on the HL. Follow Up
1/13/2012/SD offered CL emctional support b/c of how traumatized she was Crisis
yesterday over her attorney's conduct. Counseling
1/13/2012;SD s/w CL about her decision to fire Kartegener and the possibility Info-Legal
of tapping into her resources at the Legal Aid office since she had a |
good feeling about them. : -
1/13/2012)SD s/w CL about what the plea offer could mean for her and that it ‘Info-Legal
illustrates a posible problem with the state's case.
1/13/2012:SD did some SP w/ CL b/c she mentioned just waking up (3:15pm) {Safety
after taking sleeping pills the night before. She clarified that she Planning
_ didn't try to overdose; she took them just to knock her out.
1/13/2012)SD called Lisa @ CVTC to update her on the case. No answer. Left [PA-Legal
ce. WM requesting a call back
4/17/2012 SD called for Lisa @ CVTC again ‘returning her \ vm. . Noa answer. - Left |PA- Legal
vm letting her know what happened w/ ADA since she’s meeting with
CL at 2pm today and asked her to call me.
1/19/2012|SD s/w CL who called in on the HL but she hung up when I tried to {Follow Up
talk to her about leaving a vm on our phone rather than calling over |
fand over again. | informed her that we can't have someone call
jincessantly and that | was planning on returning her message when -
CL got frustrated and hung up the phone. 1 oo
1/19/2012/KT emailed Audrey Moore and Lisa Haileselassie re: case status ICJA-DA
jand advocating for dismissal.
1/19/20121SD s/w Lisa who called in returning my vm. S/w her about CL's case IPA.
a and the upcoming disorderly conduct hearing. _ \Counseling
1/19/2012|SD sent KT the info for CL's case and the info for RESP who then |CJA-DA
______ forwarded that info to Audrey Moore at the DA's office. oe
1/1 9/2012 SD s/w Lisa who called in returning my vm. SAw her about CL’ s case |PA-Legal
land the upcoming disorderly conduct hearing. __
1/19/20121SD sw CL who called in on the HL but she hung up when | tried to jInfo-Legal

 

 

 

 

 
 

 

 

 

 

 

 

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and over again. | informed her that we can't have someone call

(CL got frustrated and hung up the phone.

incessantly and that | was planning on returning her message when |

 

1/19/2012)

SD called Lisa @ CVTC back returning her vm from earlier today.
No answer. Left a detailed vm about CL as well as about the other
|HL case they were helping us with.

'PA-Legal

 

4/20/2012)

SD s/w CL who called in on the HL about yesterday's s conversation.

Follow Up _

 

1/20/2012:

SD gave CL emotional support in response to her anxiety over the
criminal charges against her.

‘Crisis

Counseling

 

1/20/2012

SD sw CL about the criminal charges pending against her and the
{upcoming hearing on the disorderly conduct case.

Info-Legal

 

1/24/2012

SD s/w CL who called in on the HL w/ an update on the disorderly
conduct case. ADA Wells offered an ACD, but she did not accept.

Info-Legal

 

1/24/2012

SD sAw CL who called in on the HL w/ an update on the disorderly
conduct case. ADA Wells offered an ACD, but she did not accept.

Follow Up

 

4/31/2012

SD informed CL that we gave her info and the info of the case to the
SVB chief (Audrey Moore) in the DA's office a couple weeks ago and
we're still waiting on the outcome of that.

Info-Legal

 

1/31/2012

SD informed CL that even one missed court date can result ina
dismissal of her FC case against RESP, which is what happened.
However, she didn't show b/c Kartegener told her the wrong date
jand they've given her until Mon to come back w/ a new attorney.

Info-Legal "

 

4131/2012:

SD informed CL that if ADA Wells knew she wasn't going to take the
ideal, then he didn't have to formally offer it to her (it sounds like he

did not).

‘linfo-Legal

 

~ 1/31/2012

to the Bk Bridge" right now (basically providing an underlying
{implication of suicidality).

SD s/w CL who called in on the HL very upset and threatening to "go

Crisis

jCounseling

 

1/31/2012

SD s/w CL who called in on the F HL very upset and threatening to "go.
to the Bk Bridge" right now (basically providing an underlying
implication of suicidality).

|Follow Up —

 

~ 2/3/2012

SD s/w CL who called in on the HL about the pending c crim m charges.

that we only provided her name and the docket # of the case b/c
that's atl they wanted.

\Follow Up _
Wanted to know what we "sent” to the DA's office and | informed her | |

 

2/3/2012/S

SD s/w CL who called i in on n the HL about the pending crim | charges.
Wanted to know what we "sent" to the DA's office and | informed her
that we only provided her name and the docket # of the case b/c
that's all they wanted. .

Info-Legal —

 

~ 2/3/2012

gave us to the DA's office if they ask for it. She said that was fine.

SD confirmed w/ CL ‘that it it would still be okay to present ‘what she 7

linfo-Legal

 

 

"3/6/2012

_.fCase and advocacy with DA's office. a.

SD called Lisa @ CVTC back returning her call re. status of CL's

 

~ PA-Legal

 

 

 

 

 

 
 

 

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° 2/6/2012k SD s/w CL who called i in nto update m me on the case. ‘ollow Up |
2/6/2012iSD s/w CL about the pending crim case and her new / Legal Aid Info-Legal
___ jattorney. {
2/6/2012 SD sAw CL about meeting wi her Legal Aid attorney. Will discuss wi iInfo-Legal
KT and see if there is an appropriate meeting time this week (may
not be possible this week).
2/7/2012)SD responded to CL's email w/ corrected count info, docket #’s, and jInfo-Legal
an explanation of what an ACD is for her formal complaint about the
IDA's office.
2/7/2012iSD s/w Lisa who called re. the pending criminal charges and case =/|PA-
developments. Lisa will be seeing CL later today fora counseling (Counseling
session.
2/7/2012)SD responded to CL's email w/ corrected count info, docket #'s, and jInfo-Legal
an explanation of what an ACD is for her formal complaint about the
iDA's office.
2/7/2012)SD responded to CL's email w/ corrected count info, docket #'s, and jInfo-Legal
an explanation of what an ACD is for her formal complaint about the
iDA's office. 7
2/7/2012iSD responded to CL's email w/ corrected count info, docket #'s, and |Follow Up
an explanation of what an ACD is for her formal complaint about the
___ {DA's office. _
2/7/2012'SD s/w Lisa who called re. the pending criminal charges and case _|PA-Legal
developments. Lisa will be seeing CL later today fora counseling |
2/7120121SD informed CL that Lisa @ CVTC called me re. updates on the ee
jcase and that she's prob concerned about that. _{Counseling |
2/7/2012 SD provided CL my email address b/c she would like me to look o over Info-Legal
the formal complaint she's going to write about the DA's office's
_____ jhandling of her case. | agreed to look at it.
2/7/2012)SD informed CL that her theory as to overall office responsibility may. lInfo-Legal
{not be true: it's highly unlikely the entire DA's office is involved (as
_jopposed to ADA Stroben and/or Wells). 4.
2/7/2012|SD s/w CL who called in on the HL w/ an update on the case. Her iFollow Up
{neighbor is on the community board with an inspector at the 28th,
jand the neighbor asked him what was going on w/ CL’s case. The
oo |inspector allegedly stated that it was all the DA's office.
2/7/2012|SD provided CL w/ emotional support re. the new info she’s rec'd (Crisis
jabout the DA's office's conduct in her case (according to an iCounseling
linspector at the 28th precinct thatis). * 1
2/8/2012\KT emailed Lisa Haileselassie and SD re: conversation with defense |PA-
attorney and gathering evidence, developing plan for.crisis \Counseling
________|management, reporting on performance in court, etc. : fo
on Hf8/2012)KT emailed Tajuana Johnson w/ same info |PA-Legal

 

 

 
 

 

 

 

 

 

 

 

 

3/8/2012 IK
jattorney and gathering evidence, developing plan for crisis

KT emailed Lisa Haileselassie and SD re: conversation with defense |

management, reporting on performance in court, etc.

PA-Legal

 

2/8/2012

KT called Tajuana Johnson, CL’s new defense attorney at Legal Aid,

jand left message advising of who | am and my role in case.

PALcoa —_

 

9/8/2012

KT emailed Tajuana Johnson w/ same info

CJA-Other

 

2/8/2012

KT called Tajuana Johnson, CL's new defense attorney, and
discussed situaton briefly. Discussed our role and the ways we can
support. She is interested in our working with Kelly to prepare
documents re: her victimization. | will reach out to SD and LH re:

|preparing this evidence.

ICJA-Other

 

2/8/2012

KT called Tajuana Johnson, CL's new defense attorney at Legal Aid,
and left message advising of who | am and my role in case.

ICJA-Other —

 

2/15/2012

SD met w/ CL briefly at CVTC re. doc's to bring to Friday's meeting
wi Tajuana (e.g. records from glass companies, medical records
from incidents identified on her timeline, etc.). CL stated that she's
scared about the trial and | validated her feelings about that.

Follow Up

 

2/15/2012

SD met w/ CL briefly at CVTC re. doc’s to bring to Friday's meeting
wi Tajuana (e.g. records from glass companies, medical records
from incidents identified on her timeline, etc.). CL stated that she's
scared about the trial and | validated her feelings about that.

Info-Legal

 

2/15/2012

SD met w/ CL briefly at CVTC re. doc’s to bring to Friday's meeting

wi Tajuana (e.g. records from glass companies, medical records
(from incidents identified on her timeline, etc.). CL stated that she's
|scared about the trial and I validated her feelings about that.

Crisis

 

jCounseling

 

2/16/2012]

SD called CL to remind her to bring the doctor's reports and receipts -

ifrom the glass companies tomorrow. No answer. Left vm and also
jemailed CL w/ the same request.

‘Follow Up

 

~ 3/16/2012 |

SD called CL to remind her to bring the doctor's reports and receipts
from the glass companies tomcrrow. No answer. Left vm and also
emailed CL w/ the same request.

linfo-Legal

 

2/17/2012

criminal case. Discussed strategy, prospects, useful ways to
prepare.

KT met wi Lisa Haileselassie, Tajuana Johnson and CL to discuss ~

[Follow Up

 

2/17/2012)

KT met w/ Lisa Haileselassie, ‘Tajuana Johnson and CL to ‘discuss -

jcriminal case. Discussed strategy, prospects, ACD v. dismissal,
juseful ways to prepare.

~ [Safety
{Planning

 

29/17/2012

KT met w/ Lisa Haileselassie, Tajuana Johnson and CL to discuss
criminal case. Discussed strategy, prospects, useful ways to
prepare.

“PA-Legal

 

~ 2/17/2012

KT met wi Lisa Haileselassie and Tajuana Johnson to discuss case.
Discussed outlook, position of prosecutor, attorney's impression of

 

defense issues. Discussed ways we can assist, victimization, etc.

 PA-Legal

 

 

2/17/2012 |KT met w/ Lisa Haileselassie and Tajuana Johnson to discuss. case,

 

[Safety

 

 

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[Discussed outlook, position of prosecutor, “attorney’ Ss “impression c oO
ldefense issues. Discussed ways we can assist, victimization, bottom |
lines for CL re: safety and autonomy.

Planning

 

 

2/47/2012

KT met w/ Lisa Haileselassie and Tajuana Johnson to discuss case.
iDiscussed outlook, position of prosecutor, attorney's impression of
defense issues. Discussed ways we can assist, victimization, etc.

\CJA-Other

 

2/17/2012

KT met w/ Lisa Haileselassie, Tajuana Johnson and CL to discuss
criminal case. Discussed strategy, prospects, useful ways to
|prepare.

; aioe _

 

2/24/2012

KT met w/ CL and defense atty Tajuana Johnson. Discussed history
of abuse and clarified facts from timeline. Discussed current charges
against her and potential outcomes. KT and CL listened in to TJ's
phone call with ADA Wells. They have a recording of the OP
violation and therefore TJ feels she will not be offered lower than a
Family ACD. Discussed future recourse for injustice of dropping
charges against her. TJ offered to help bring a case against
prosecutor for abuse of discretion. CL very upset at prospects and
will consider whether to accept ACD. TJ advised she intends to do a
full investigation. We will support however we can.

\Crisis

Counseling

 

2/24/2012

KT met w/ CL and defense atty Tajuana Johnson. Discussed history.
of abuse and clarified facts from timeline. Discussed current charges
against her and potential outcomes. KT and CL listened in to TJ's
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violation and therefore TJ feels she will not be offered lower than a
Family ACD. Discussed future recourse for injustice of dropping
charges against her. TJ offered to help bring a case against
prosecutor for abuse of discretion. CL very upset at prospects and
\will consider whether to accept ACD. TJ advised she intends to do a |

jissues while she remains living next door to perp w/o an active
,order, which was dismissed 1/31/12.

‘full investigation. We will support however we can. Discussed safety |

Safety
Planning

 

"2/24/2012.

KT met w/ CL and defense aity Tajuana “Johnson. Discussed history

jagainst her and potential outcomes. KT and CL listened in to TJ's
phone call with ADA Wells. They have a recording of the OP
violation and therefore TJ feels she will not be offered lower than a
Family ACD, Discussed future recourse for injustice of dropping
Icharges against her. TJ offered to help bring a case against
{prosecutor for abuse of discretion. CL very upset at prospects and

[full investigation. We will support however we can.

“lFollow Up
,of abuse and clarified facts from timeline. Discussed current charges |

will consider whether to accept ACD. TJ advised she intends to do a.

 

 

"9/94/2012

KT met w/ CL and defense atty Tajuana Johnson. Discussed history
of abuse and clarified facts from timeline. Discussed current charges |
against her and potential outcomes. KT and CL listened in to T's
phone call with ADA Wells. They have a recording of the OP

 

 

|CJA-Other

 

violation and therefore TJ feels she will not be offeredlowerthana |

 

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iFamily ACD. Discussed future r recourse for injustice ‘of dropping —
Icharges against her. TJ offered to help bring a case against
{prosecutor for abuse of discretion. CL very upset at prospects and
iwill consider whether to accept ACD. TJ advised she intends to do a
ifull investigation. We will support however we can.

 

2/24/20121KT met w/ CL and defense atty Tajuana Johnson. Discussed history

jof abuse and clarified facts from timeline. Discussed current charges
jagainst her and potential outcomes. KT and CL listened in to TJ's
phone call with ADA Wells. They have a recording of the OP
Violation and therefore TJ feels she will not be offered lower than a
iFamily ACD. Discussed future recourse for injustice of dropping
icharges against her. TJ offered to help bring a case against
iprosecutor for abuse of discretion. CL very upset at prospects and
lwill consider whether to accept ACD. TJ advised she intends to do a
full investigation. We will support however we can.

   
 
  

iPA-Legal

 

2/24/2012'KT met w/ CL and defense atty Tajuana Johnson. Discussed history

of abuse and clarified facts from timeline. Discussed current charges
against her and potential outcomes. KT and CL listened in to TJ's
phone call with ADA Wells. They have a recording of the OP
Violation and therefore TJ feels she will not be offered lower than a
Family ACD. Discussed future recourse for injustice of dropping
charges against her. TJ offered to help bring a case against
prosecutor for abuse of discretion. CL very upset at prospects and
will consider whether to accept ACD. TJ advised she intends to do a }
full investigation. We will support however we can.

iInfo-Legal

 

2/24/2012 Discussed right to file for another OP if necessary.

jCourt

‘Info-Family

 

that the ADA has to prove that she had the intent to commit the
jcrimes she' S charged with.

3127/2012|SD informed CL that | don't know how this is all going fo play out, bul Info-Legal

 

‘the case.

~2/27/20121SD advised CL to take her cues from Tajuana and to let her handle “Info-Legal

 

2/27/201238D siw CL briefly but | had not spoken to KT yet about the meeting jInto-Legal

they all had on Friday (ft was out of town). Provided her w/ some
emotional support and also discussed the statements the ADA
apparently made to Tajuana.

 

2/27/2012)SD s/w CL briefly but | had not spoken te to KT yet about the meeting [Follow Up —

they all had on Friday (1 was out of town). Provided her w/ some
emotional support and also discussed the statements the ADA
apparently made to Tajuana.

 

~ 2/27/20121SD s/w CL briefly but | had not spoken to KT yet about the meeting [Crisis
they all had on Friday (I was out of town). Provided her w/ some {Counseling

emotional support and also discussed the statements the ADA
apparently made to Tajuana.

 

 

 

 

- _3/2/2012|SD s/w CL who called in scared a about the hearing « on n Tuesday. ‘SD. [Crisis

 

 

 

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] offered emotional ‘support. _ Counse ing

"3/2/2012|SD siw CL who called back to ask about the ACD and her ability to |Info-Legal
|sue after the 1 yr time period is up. | confirmed what both KT and
7 ___{Tajuana told her about this on Friday. jo
3/2/2012|SD siw CL who called back to ask about the ACD and her ability to ‘Follow Up
‘sue after the 1 yr time period is up. | confirmed what both KT and
Tajuana told her about this on Friday. 7
3/2/2012\SD s/w Lisa @ CVTC about my conversation w/ CL earlier today. IPA-
jLet her know that CL was pretty upset, but | was able to talk her |Counseling
_ a: down. fed feet ett ta
3/2/2012/SD s/w Lisa @ CVTC who returned my call. Discussed the hearing |PA-Legal
on Tuesday and the fact that she might not be able to go. Also
discussed the 30/30, which is a no go b/c Kartegener did ask for an
_ jadjournment. _ -
3/2/2012iSD informed CL that | have no idea who the "phone expert” the ADA |Info-Legal
jmentioned to Tajuana would be, but that Raheem has to confirm to
ithe court that the phone call came from CL on the alleged date after
ithe OP was issued.

"3/2/2012/SD s/w CL about Raheem showing up at the hearing on Tuesday to {Info-Legal ~
vet the phone call for the contempt of court charge, and CL
lreiterated that he won't be there. _

3/2/2012|SD informed CL that the ADA has to prove 3 things: 1} that she Info-Legal
committed the crime, 2) that she had the intent to commit the crime,

 

 

 

 

 

 

 

 

3/2/2012|SD s/w CL who called | in scared about the hearing 0 on Tuesday. SD Follow Up
offered emotional support. :

3/2/2012 SD informed CL that if this goes to trial, the ADA has to provide his lInfo-Legal
evidence to Tajuana who will have the opportunity to investigate all

 

 

 

of it.
3/6/2012 SD s/w CL after hearing and advised her that it's s essential that she [Crisis
listen to and trust Tajuana’s actions in court. Confirmed what Counseling

Tajuana told her after court about how to act when infront of the

3/6/2012|SD Si CL after hearing and informed her that when Tajuana iInfo-Legal
checked the calendar, she found that Kartegener had agreed to
ieach adjournment, so today is the first day of the 30/30 clock. This is|
iwhy she needs to let Tajuana control what's happening in court (she |
iwas trying to push the next hearing back into April to run down the
{clock}. ]

3/6/2012|/SD went to IDV wi Tajuana, Rammel (from CVTC), ‘and CL for |PA-Legal
criminal trial hearing. People weren't ready. 30/30 time started.
“Adjourned until 3/15/12.

3/6/2012 SD sAw CL after hearing and advised her that it's essential that she “lInfo-Legal
__Histen to and trust Tajuana's actions in court. Confirmed what |

 

 

 

 

 

 

 

 

 

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TTajuana told her after court about how to act when in front of the
\judge, and to let her make the plays.

 

 

3/6/2012

SD s/w CL after hearing about the trajectory of the case over the
past year from 300+ charges to an ACD to now not being ready
when Tajuana indicated she is ready.

Info-Legal

 

~ 3/6/2012

SD went to IDV w/ Tajuana, Rammel (from CVTC), ‘and CL for
criminal trial hearing. People weren't ready. 30/30 time started.
Adjourned until 3/15/12,

CJA-DA

 

3/6/2012

SD went to IDV w/ Tajuana, Rammel (from CVTC), and CL for
icriminal trial hearing. People weren't ready. 30/30 time started.
Adjourned until 3/15/12.

IPA-
‘Counseling

 

3/8/2012

IKT s/w Tajuana, CL's defense attorney. Discussed issues with the
case, potential responses to assist with the criminal charges.

_iPA-Legal

 

~ 3/9/2012

IKT s/w CL and discussed what happened in court. Discussed
istraying from plan, CL's concerns with prosecution, etc. Did CC.

 

{Follow Up

 

3/9/2042

KT s/w CL and discussed what happened in court. Discussed
{straying from plan, CL's concerns with prosecution, etc. Did CC.

[Crisis
|Counseling

 

3/9/2012

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Info-Legal

 

3/13/2012

KT sfAw CL's social worker Lisa Haileselassie and discussed case.
Discussed mental health issues and appropriate responses.
Discussed ways to assist CL's attorney,

IPA

Counseling

 

3/13/2012

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~ 3/13/2012:

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IPA-Legat 7

 

3/14/2012

KT met wi CL and Tajuana Johnson; discussed cases. Discussed
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itactics by abuser, how to stay safe during process. Did CC w/ CL as
she was extemely distressed by the conversation. Discussed plan
for upcoming court

jCounseling
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Crisis

 

3/14/2012

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forupcoming court

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joafety
iPlanning

 

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Follow Up

 

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CJA-Other

 

3/15/2012

IKT s/w CL who reported on court case. Raheem did not show up in
court again. Prosecutor requested an adjournment on the case and
advised he still needed more time. CL distressed by the extension of
jthe case but understood the legal strategy.

IFollow Up

 

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Info-Legal

 

3/21/2012.

KT sfw CL and discussed upcoming court. She spoke with her
defense attorney who wants her to begin collecting evidence. Atty

prosecutor has. CL and | discussed abuse issues and her efforts to
ltry to keep the situation under wraps. Did safety planning and
idiscussed strategy for getting protection once this is over. CL
became very distressed during the conversation and | tried to calm
her down a little bit. She is very worried about the ways her abuser
|will use this against her in the future.

said she does not want to flush out the case before seeing what the |

Info-Legal

 

 

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‘Safety
iPlanning
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Crisis
Counseling

 

3/26/2012

KT s/w CL and discussed that | could not attend Monday's meeting.

ICL understood. CL stated that she was receiving messages on her
\'Kelly Price" phone line from a blocked number and she believed it |
was Kenya Wells calling her. CL stated that the called said sexually |

explicit things and was harassing her. She has received repeated
messages from this number. CL was very upset. Did a little CC.
Discussed legal strategy and our potential role - will he!p to gather
documents as her defense attorney sees fit.

[Follow Up

 

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iCrisis
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"|Info-Legal

 

 

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“Tae Idocuments as her defense attorney sees fit, to
4/3/20121SD s/w CL who called in with an update on court today. ADA |Follow Up
jJannounced he wasn't ready, and the case was adjourned until

15/23/12. Discussed with CL that WebCrims won't be reliable for
lcounting days b/c it's dependent on the judge's calendar. CL
jrequested call back from KT. cu neal ca
4/3/2012{SD s/w CL who called in with an update on court today. ADA Crisis
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4/3/2012|KT called back CL __ [Follow Up
4/3/2012IKT rec'd message from CL Follow Up
4/4/2012/SD consulted w/ Lisa at CVTC after s/w CL the day before re. PA-Legal
charges pending against CL, CL working w/ her attorney instead of
around her, and how CL is coping with everything.
4/4/2012/SD consulted w/ Lisa at CVTC after s/w CL the day before re. |PA-
charges pending against CL, CL working w/ her attorney instead of iCounseling
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4/4/2012 KT s/w CL and made plans for meeting with attorney - scheduled — Follow Up
_ itentatively for next week.
_ 4/4/2012|KT leftmessage forCL iFollow Up
4/4/2012/KT s/w CL and made plans for meeting with attorney - “scheduled iInfo-Legal
. tentatively for next week. to
4/16/2012: KT rec'd message from CL inquiring, about date of appointment _ |Follow Up -
4/1 6/2012'KT lm for CL advising of appointment tomorrow at 4 _ |Follow Up
4/16/2012/KT lim for CL advising of appointment tomorrow at 4 _{Info-Legal
__4/16/2012)KT emailed CL's attorney to confirm appointment time _ _ |CJA-Other _
4/16/2012/KT rec'd response from CL's attorney advising she was out of town CJA-Other
ee jand would check upon return fo.
4/17/2012} KT rec'd message from CL confirming appt a |Follow Up
4/17/2012)KT left message for CL confirming appt. Follow Up _
4/17/2012\KT rec'd email from CL's attorney advising she can still meet at 4 CJA-Other
__jtedayifCLisavailable. | |. J:
4/30/2012|KT siw CL and discussed housing court issues. Discussed eviction Crisis
iprocess and strategies to respond. CL stated she has retained Counseling
records and we discussed requesting a summary of allegations and

 

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OOOO

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responding in turn to ‘each with ‘the evidence she has.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ithe case on WebCrims. | tried again and found it too. Case
continued to 6/6/12. Verified to CL that | could find it, and suggested |

 

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process and strategies to respond. CL stated she has retained jHousing
records and we discussed requesting a summary of allegations and |
/ responding in turn to each with the evidence she has. _
~ 4/30/2012 [Discussed pending criminal case and meeting - will meet tomorrow |CJA-Other
at 4 with attorney. _
4/30/2012IKT s/w CL and discussed housing court issues. Discussed eviction |Follow Up
process and strategies to respond. CL stated she has retained
records and we discussed requesting a summary of allegations and
responding in turn to each with the evidence she has.
5/1/2012\KT attended meeting with CL at CL's attorneys office. Discussed Crisis
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|collection of evidence to establish victimization. Discussed
levidentiary issues, legal relevance, defenses. Discussed issues with |
|prosecutorial misconduct - failure to pursue witnesses, etc. _
5/4/20121KT left message for CL re: evidence collecting. _ (Follow Up _
5/4/2012/MM left message for CL To collect more info. on issues on Case. _ Follow Up
5/16/2012/KT emailed CL's attorney re: criminal case and evidence collecting. ICJA-Other _
5/16/2012:KT rec'd response from CL's attorney advising no progress had been. CJA-Other
gus made. secs La sess _—
5/22/2012| KT rec'd email from CL's attorney advising that the 30-30 deadline \CJA-Other
jhad run out according to her information.
5/22/2012/KT replied to CL's attorney via email. _ _|CJA-Other _
5/24/2012/SD s/w CL again who called back to say ‘that she \ was able to find Follow Up

 

 

_ {that | | probably couldn't find it this morning b/c the site hadn't updated | ee

 

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yet.

 

~ 5/24/2012

janswer. Left vm.

SD called Lisa @ CVTC to verify the charges were dropped. No

PaLega -

 

~ 5/24/2012

SD s/w CL again who called back to say that she. was able to find.
the case on WebCrims. | tried again and found it too. Case
continued to 6/6/12. Verified to CL that | could find it, and suggested |
that | probably couldn't find it this morning b/c the site hadn't updated |
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~ (Crisis
iCounseling

 

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yet.

Info-Legal

 

5/24/20121SD s/w CL who called in about what happened in the hearing

lyesterday. Informed her of what | told Lisa about the WebCrims info,

but also that this doesn't mean the case was dismissed. It's possible

ithe website hasn't been updated yet; however, it sounds like the
icase is about to be dismissed based on what happened in

yesterday's hearing. _

Foltow Up

 

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| Info-Legal 7

 

 

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the website hasn't been updated yet; however, it sounds like the
case is about to be dismissed based on what happened in
yesterday's hearing.

Crisis
Counseling

 

~ 5/29/2012

KT siw CL and ‘discussed | court case. . She believes that her case will |
be dismissed based on speedy trial requirements. CL's attorney will

motion to dismiss is filed the prosecutor will have the opportunity to

\reply and the cas

file a motion to dismiss on that basis. Explained to CL that once the |

 

6/30/2012

SD sAw CL briefly at CVTC and discussed the CC case. CL believes

ithe case will be dropped b/c her attorney assured she would file the

motion to dismiss. Advised CL to be patient and follow her attorney's
lead.

|Counseling

Crisis

 

 

~ 5/30/2012|¢

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the case will be dropped b/c her attorney assured she would file the

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"|Info-Legal

 

| 5/30/2012|8

 

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|Follow Up

 

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ithe case will be dropped bic her attorney assured she would file the |
{motion to dismiss. Advised CL to be patient and follow her attorney’ S|
jlead,

 

6/31/2012}

iSD informed CL that in regards to getting her bail back, she will need!
{ID but she should also discuss that w/ Tajuana to get a better idea of:
jhow that will all work out.

Info-Legal

 

5/31/2012

SD siw CL who called back returning my vm. . She said that Tajuana
filed the motion to dismiss today, and is trying to get a clerk to look
at it today (she's unsure if she can pull that off). CL will keep us
posted.

[Follow Up

 

5/31/2012

SD called CL back returning her messages from this morning. No
answer. Left vm.

Follow Up

 

6/6/2012

KT emailed CL's attorney in response.

CJA-Other

 

6/6/2012

KT called CL and left message advising atty was aware of situation.

Follow Up

 

6/6/2012

KT rec'd email from atty advising she had heard the « case got called
and re: CL's reaction.

CJA-Other

 

_ 6/6/2012

KT emailed CL's attorney to see where she was.

~ IC JA-Other

 

6/6/2012

judge called the case, knowing she was not present. The case got
adjourned for two months. CL is very fearful of what will happen and |
stressed over trying to manage this case and the pressure from

and represent herself today so that the hearing will be heard.

KT s/w CL who called in crisis. Her attorney was late to court and the:

Raheem. Discussed options; she is considering trying to fire Tajuana

Info-OCther

 

6/6/2012

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Crisis
Counseling

 

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Follow Up

 

_ 81612012

KT called CL and left message advising atty was aware of situation.

“[Info-Legal

 

 

~ 6/13/2012
jof readiness, then the m ixup over what time the hearing was at

SD explained that if her defense attorney had known about the cert,

 

Info-Legal

 

 

 

 

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hwouldn't have even 1. happened b/c the motion to dismiss wouldn't
Ihave happened making what transpired that morning
. jinconsequential. -
6/13/2012/SD s/w CL about her wish to fire her defense attorney and represent Info-Legal
herself. Informed her that | did not think this was a good idea. __
6/13/2012/SD informed CL that there may be a number of explanations as to Info-Legal
why her defense attorney did not have the cert. of readiness before
she decided to file a motion to dismiss.
6/13/2012ISD tried to SP w/ CL in the context of the criminal case, but CL is Safety
- pretty set on representing herself. \Planning
6/13/20121SD advised CL that | believed she would have a very difficult time — [nfo-Legal
finding a 3rd attorney to take the case if she fired her current
attorney. 7
6/13/2012/SD informed CL that | believed ADA Wells would refuse to work w/ —|Info-Legal
her if she represented herself in court.
6/13/2012/SD s/w CL about her upcoming appt with the 'Gender & Sexuality’ —{Info-Legal
clinic at Columbia Law. Informed her that | didn't think a law school
; clinic would take her case.
6/13/2012/SD provided emotional support to CL. Crisis
a Counseling
6/13/20121SD wi CL on the phone at CVTC. She decided to call instead of Follow Up
_ coming in for her appt.
6/13/2012'SD informed CL that | did not believe Judge Dawson would let her Info-Legal
lrepresent herself, but CL said she didn't care. _
. 6/18/2012 1K KTrecdmessagefromCL Follow Up _
6/18/2012|SD s/w CL who called in extreme crisis. She was yelling (sometimes Follow Up
jinaudible) and saying that she got a text message from the defense
attorney on the disorderly conduct saying he wouldn't be able to
a represent her anymore and she is due in court tomorrow at 9:30am. |
6/18/2012 /KT called CL and discussed criminal case. She was pretty upset and |Info-Legal
[believed her attorney would not show up at court tomorrow - Ben
Dell of Legal Aid who is representing her in the disorderly conduct
case. Discussed criminal issues and her 6th amendment rights to
6/18/2012IKT s/w Ben Dell and discussed criminal case. He will appear on CL’s:CJA-Other
_ |behalf tomorrow. Discussed various issues with representation. a
6/18/2012/SD instructed CL to call her SW @ CVTC or the main line at CVTC ‘Info-
Iso that they can help her through this. CL was extremely escalated ‘(Counseling
and talking about not being alive tomorrow. SD was able to help CL |
construct an immediate SP in order to come down from her
____jescalated state. fo
6/18/2012|SD instructed CL to call her SW @ CVTC or the main line at CVTC iCrisis
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and talking about not being alive tomorrow. SD was 3 able to help CL
{construct an immediate SP in order to come down from her
jescalated state.

 

6/18/2012

SD advised CL that she is legally entitled to counsel at a CC trial, so

need to request a new attorney in court.

lInfo-Legal —
if Legal Aid is, in fact, pulling themselves from the case, then she will |

 

~ 6/18/2012)5

SD instructed CL to call her SW @ CVTC or the main 1 line at CVIC~
so that they can help her through this. CL was extremely escalated
and talking about not being alive tomorrow. SD was able to help CL
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Saree gus wuss

Planning

 

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Counseling

 

"6/27/2012

SD s/w CL briefly about Legal Aid and what happened with the.
disorderly conduct hearing a few weeks ago. CL was allegedly
informed by Ben Dell @ Legal Aid that they were not representing
her anymore and that she would be by herself. That did not happen
though.

 

6/27/2012.

‘SD reiterated what KT said earlier about criminal cases and her right

ito an attorney. Tried to ease her fears that she will show up to the

next hearing w/o an attorney and w/o any knowledge that she would

jbe unrepresented.

Info- Legal

 

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jCrisis
jCounseling

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~ [info-Legal

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7/23/2012

jtomorrow ~

KT called attorney to try to find out about court appearance —
left message.

~ICJA-Other —

 

7/23/2012

KT s/w CL who called in crisis after learning her defense atty
(Tajuana Johnson) had been in a car accident and was currently

hearing that reveals her attorney who was present in court on the

|Info-Other

hospitalized. She has court tomorrow morning and is very concerned:
about what will happen. She advised she obtained a transcript of the |

day the Cert of Readiness was filed was NOT her attorney of record.
|Discussed issues. Discussed court tomorrow.

 

 

 

 

112 KT sw cL who called in Crisis after learning her d defense atty - —

 

 

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lhearing that reveals her attorney who was present in court on the
Iday the Cert of Readiness was filed was NOT her attorney of record.
Discussed issues. Discussed court tomorrow.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

reasons for the delay and that he was having ahardtime with CL |
because he felt she would get upset and accusatory. We discussed |

 

7/23/2012 Disc safety threats and planning. 7 Safety
_ . Planning
7/23/2012)KT siw CL who called in crisis after learning her defense atty Follow Up
(Tajuana Johnson) had been in a car accident and was currently
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; {No answer. Left vm. |
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‘conclusion of the CC case against her. All of the DV charges were
dropped, but there was no indication as to why they were dropped.
—___JNo answer. Left vm.
7/30/2012|SD offered CL emotional support. She wants to file a lawsuit against Crisis
7 ithe city and the DA's office. __ Counseling
7/30/2012)SD informed CL that Friday (8/3) is my ast day. - __jInfo-Other _
7/30/2012 SD asked CL if she'd been given a reason for why the case was ‘nfo-Legal
\dropped. She said she didn't know, and | informed her that we don't |
; iknow either. oo :
__7/30/2012|SD s/w CL who called in on the HL retuming my vm from 7/26. Follow Up
_ 10/8/2012|KT rec'd message from CL Follow Up
| 10/8/2012)KT left message for CL, returning her call. __ _iFollow Up _
| 11/30/2012|KT rec'd message from CL ‘Follow Up _
12/6/2012IKT siw Det. Galan at 20th Pct and discussed case - he explained the: CJA-Police-

 

_jease, his concerns and intentions, and he reassured me thathe was | _

 

 

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very eager to get an arrest on this case and help the client.
‘explained his intentions for today and gave me contact info for the
iprosecutor on the case - ADA Bernard at DANY.

 

12/6/2012)

KT called CL and relayed conversation with Det. Galan; She is going
ito go down to the station and do the photo lineup and call me to let
ime know how it goes.

 

Info-Legal

 

12/6/2012)

IKT s/w CL and discussed current issues with law enforcement. CL
was assaulted in August by a stranger in a bar and heard he was
arrested, but has gotten mixed messages. She is uncertain about
whether she should trust the detective she was working with, who
has now asked her to come in to do a photo line up. | agreed to
reach out to him - Detective Galan at the 20th Pct., (212)580-6414

Follow Up

 

12/6/2012

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reach out to him - Detective Galan at the 20th Pct., (212)580-6414

Crisis
Counseling

 

12/6/2012

KT s/w Det. Galan at 20th Pct and discussed case - he explained the
reasons for the delay and that he was having a hard time with CL
because she would get upset and accusatory. We discussed case,
his concerns and intentions, and he reassured me that he was very
eager to get an arrest on this case and help the client. He explained
his intentions for today and gave me contact info for the prosecutor
on the case - ADA Bernard at DANY.

CJA-Police

 

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Info-Legal _ -

 

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“Safety
[Planning

ireach out to him - Detective Galan at the 20th Pct., (212)580-6414 |

 

© 42/12/2012)

 

SN discussed CL's most recent case with her and discussed why the.
|ADA may have chosen to pursue felony assault against an office
icharges instead of the assault charges she's attempted to file
jagainst the individual in question (who'd assaulted her in an UWS

 

_{bar by punching her in the mouth). _

 

 

 

 

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OOOO

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42/12/2012 SN reviewed details of L's O application briefly with Veronica iPA-CVB
jand discussed her filing- specifically the amount she'd filed for, the [Application
materials she was able to gather to make the claim (there'd been
\difficulty accessing DIRs from the 28th precinct) and how she'd
jutilizesaidfunds,  ees—‘(‘“‘“‘iéiCOO

42/12/20121SN wrote a letter to CL's landlord attesting to the filing ofher OVS = |PA-CVB
application, with the hopes that this would assist her in disputing her
- impending eviction.

12/12/2012iSN met with CL at CVTC. Stated that she would like a letter forher |CVTC
landlord stating she'd filed an OVS claim for the amount of $15,000.
Additionally, CL worked to brief me on her present circumstances-,
living next door to PERP, receiving threatening phone calls from
unidentified women, being physically attacked in her neighborhood, |
and failing behind in her rent in amount close to $40,000.

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living next door to PERP, receiving threatening phone calls from
unidentified women, being physically attacked in her neighborhood,
and falling behind in her rent in amount close to $40,000.

“12/12/2012|KT emailed Audrey Moore to check in - advised | wanted to speak ICJA-DA
with her about the case

1/10/2013)KT s/w CL's counselor Lisa Haileselassie | re: various issues with the PA-

case. Discussed allegations that 28th Pct won't take reports - we Counseling
strategized and decided to approach Audrey Moore again about the ;
precinct/DANY issue. 1
1/10/2013|KT sAw Audrey Moore who advised she had not instructed, nor had iCJA-Police
iher office, anyone not to take a report from CL. She discussed this
jissue with the captain who agreed they had not been instructed to do:
that. They will make sure officers are advised.

1/10/2013 KT s/w CL and advised ! had some updates. CL will call me back Follow Up
tomorrow.

~-1/10/20131 KT siw CLs counselor Lisa Haileselassie re: various issues s with the. \PA-Other

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Follow Up

 

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her office, anyone not to take a report from CL. She discussed this
issue with the captain who agreed they had not been instructed to do
that. They will make sure officers are advised.

CJA-DA

 

1/11/2013

KT rec'd message from CL

Follow Up

 

1/11/2013

KT referred CL to VOW

Referral-
Other

 

~ 4/11/2013

KT called CL and discussed issues. Discussed conversation with
Audrey Moore at DANY (see above)

ilnfo-Legal

 

1/11/2013

KT s/w CL and discussed organizing around this issue with -
prosecution. Discussed structural issues with crimes of violence
against women, etc. Discussed current organizign efforts

Info-Other

 

~ 2/26/2013

KT left message for CL to follow up with her DV non profit efforts and
efforts to reach VOW,

Info-Other

 

2/26/2013

KT left message for CL to follow up with her DV non profit efforts and
efforts to reach VOW.

Follow Up

 

3/15/2013.

KT rec'd email from Clr re: ~ request to speak with Normal Siegle: she
is pursuing civil relief for the improper treatment of the DA's office
and NYPD and he is considering taking her case.

(Follow Up

 

~ 3/15/2013

KT rec'd email from CL re: request to speak with Normal Siegle; she
is pursuing civil relief for the improper treatment of the DA's office

Jand NYPD and he is considering taking her case.

‘lInfo-Legal —

 

3/16/2013!

KT replied to CL to advise that | would speak to Mr. Siegle o on her

ibehalf. | advised the limitations of my ability to speak to her story
|because of the limited personal knowledge | have. __

Follow Up

 

3/16/2013

KT replied to CL to advise that | would speak to Mr. Siegle o onher

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| Info-Legal ]

 

3/19/2013

KT s/w civil rights attorney extensively about CL's case. _ Advised that IGJA- DA

il believed she is the victim of abuse, that] did think she was treated |
jin an extreme manner by NYPD and the DA's office but | could not
ispeculate as to the reason, that | found it very unusual for a DV
victim and | think the Manhattan DAs office usually recognizes
victims in cases.

 

 

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